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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION

 NOVO NORDISK A/S AND NOVO
 NORDISK INC.,
                        Plaintiffs,

            vs.                                                Civil Action No. 4:25-CV-446-JD
 RAPID WEIGHT LOSS AND
 ESTHETICS CENTER, INC.,

                                     Defendant.


 DEFENDANT RAPID WEIGHT LOSS AND ESTHETICS CENTER, INC.’S MOTION
            TO DISMISS FOR FAILURE TO STATE A CLAIM
                  AND MEMORANDUM IN SUPPORT

        Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, Defendant Rapid Weight Loss

and Esthetics Center, Inc. (“Rapid Weight Loss”), through its undersigned counsel, submits its Motion

to Dismiss for Failure to State a Claim and Memorandum in Support respectfully requesting that this

Court dismiss all claims that Plaintiffs assert against Rapid Weight Loss. In support of its Motion, Rapid

Weight Loss states as follows:

                                   PRELIMINARY STATEMENT

        Plaintiffs Novo Nordisk A/S and Novo Nordisk, Inc.’s (“Plaintiffs”) Complaint alleges false and

misleading advertising and promotion in violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B). This

claim fails, however, because (1) Rapid Weight Loss’s advertising statements on their face are true, and

there are no allegations that any misleading statements have caused actual consumer deception nor

harmed Plaintiffs; (2) Plaintiffs’ claim of implied Food and Drug Administration (“FDA”) approval is

insufficient to sustain a Lanham Act claim because private parties cannot use the Lanham Act to enforce

the Food, Drug and Cosmetic Act (“FDCA”); and (3) the FDCA precludes a Lanham Act claim where,

as here, FDA must use its particular expertise to resolve such a claim. Plaintiffs’ deceptive and unfair


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trade practices claim in violation of the South Carolina Unfair Trade Practices Act (“SCUTPA”), S.C.

Code Section 39-5-20 is predicated on the same allegations as Plaintiffs’ Lanham Act claims and must

fail for those same reasons. Further, Plaintiffs’ SCUTPA claim is preempted by the FDCA as FDA has

sole authority to enforce the FDCA.

        Because Plaintiffs’ claims are insufficient on their face, precluded, and preempted, this Court

should dismiss Plaintiffs’ Complaint in its entirety with prejudice.

                                      FACTUAL BACKGROUND

        Plaintiffs manufacture pharmaceuticals, including three prescription-only, FDA-approved drug

products containing semaglutide as the main molecule and active pharmaceutical ingredient (“API”) for

weight management: Ozempic, Rybelsus, and Wegovy. Compl. ¶ 2. Defendant Rapid Weight Loss’s

website references compounded semaglutide medications. Id. ¶ 31. Compounding is a traditional

component of the practice of pharmacy and involves the “process by which a pharmacist or doctor

combines, mixes, or alters ingredients to create a medication tailored to the needs of an individual

patient.”1 Compounded drugs are used when a physician determines that a commercially available

drug is inappropriate or unavailable to properly treat a patient.2 Compounded drugs, thus, fill the

gaps sometimes left by FDA-approved drugs to ensure proper patient treatment.

        To preserve the vital role compounded drugs have in individualized patient care, Congress

exempted compounded drugs from the new drug approval requirements.3 Compounded drugs,

therefore, do not undergo FDA approval.4 Yet, compounded drugs remain a well-recognized tool

for patient treatment. In other words, compounding is legal and a vital component of the drug




1
  Thompson v. W. States Med. Ctr. 535 U.S. 357, 360-361 (2002)
2
  Id. at 361.
3
  See 21 U.S.C. § 353a(a); see also 21 U.S.C. § 353b(a).
4
  Nexus Pharm., Inc. v. Cent. Admixture Pharm., 48 F.4th 1040, 1042 (9th Cir. 2022) (“Compounding pharmacies do
not need FDA approval as a manufacturer of a new drug does.”).


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supply chain. Thus, many of the assertions in Plaintiffs’ Complaint regarding alleged safety

concerns are wholly irrelevant and unnecessary (and likely included to suggest that by merely

selling these products, compounders put the public at risk—which is false). Ignoring the

voluminous extraneous material in Plaintiffs’ Complaint, Plaintiffs’ only two legal claims are both

premised on allegations that Rapid Weight Loss’s marketing statements are false, misleading

and/or likely to confuse consumers under federal and state law. Plaintiffs’ Complaint is premised

exclusively on the following two website statements:




Complaint ¶ 46 & Ex. A.




Id. ¶ 49 & Ex. B. In essence, Plaintiffs rely on these two statements to support their Lanham Act

and SCUTPA claims because the statements allegedly:

       describe the medications referenced on Rapid Weight Loss’s website in a misleading way
        because these compounded medications are not the same as Plaintiffs’ Ozempic (Compl. ¶
        44);


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        imply falsely that the referenced compounded medications are subject to clinical studies,
         trials, and testing that result in the same therapeutic outcomes as Ozempic (id. ¶¶ 45-47);

        suggest that the referenced “semaglutide” contained in the compounded medications is the
         same “semaglutide” contained in Ozempic, but it is not because the processes Ozempic
         and the compounded medications undergo are different (id. ¶¶ 38, 48, 52, 53);

        use “Ozempic” to imply falsely that these compounded medications are FDA-approved (id.
         ¶¶ 49-50, 52-53); and

        are likely to expose patients to unnecessary risk because patients will mistakenly believe
         that these compounded medications are FDA-approved (id. ¶ 56).

In sum, Plaintiffs allege Rapid Weight Loss is engaging in false or misleading advertising because

Rapid Weight Loss is advertising compounded medications (1) as if they are Ozempic; and (2) to

be as safe, pure, and FDA-approved as Ozempic.

                                        LEGAL STANDARD

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S.

662, 678, 129 S. Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Bell Atlantic v. Twombly, 550 U.S.

544, 570, 127 S. Ct. 1955, 167 L.Ed.2d 929 (2007)) (emphasis added). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

         The court must determine whether the factual allegations in a complaint state a plausible

claim for relief based on “judicial experience and common sense.” Id. at 679, 129 S. Ct. 1937.

While the court “should view the complaint in a light most favorable to the plaintiff,” Mylan Labs.,

Inc. v. Matkari, 7 F.3d 1130, 1134 (4th Cir. 1993), “the court ‘need not accept the [plaintiff’s]

legal conclusions drawn from the facts,’ nor need it ‘accept as true unwarranted inferences,

unreasonable conclusions, or arguments.’” Wahi v. Charleston Area Med. Ctr., Inc., 562 F.3d 599,

615 n.26 (4th Cir. 2009) (quoting Kloth v. Microsoft Corp., 444 F.3d 312, 319 (4th Cir. 2006))



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(emphasis added).

        “It is … well established that in considering a Rule 12(b)(6) motion, courts may consider

‘documents incorporated into the complaint by reference … as well as those attached to the motion

to dismiss, so long as they are integral to the complaint and authentic.’” Leask v. Robertson, 589

F. Supp. 3d 506, 517-18 (D.S.C. 2022) (quoting United States ex rel. Oberg v. Pa. Higher Educ.

Assistance Agency, 745 F.3d 131, 136 (4th Cir. 2014) (quoting Tellabs, Inc. v. Makor Issues &

Rights, Ltd., 551 U.S. 308, 322 (2007) and Philips v. Pitt Cnty. Mem’l Hosp., 572 F.3d 176, 180

(4th Cir. 2009))). Here, the court can consider Rapid Weight Loss’s statements, both referenced

in and appended to Plaintiffs’ Complaint, in evaluating whether Plaintiffs’ Complaint meets the

appropriate pleading standards. Compl. ¶¶ 46, 49 and Exs. A & B.

                                               ANALYSIS

I.      PLAINTIFFS’ COMPLAINT FAILS TO STATE CLAIMS UNDER THE
        LANHAM ACT AND SCUTPA

        A.      Lanham Act and SCUTPA Elements and Pleading Standards

        A plaintiff who asserts a claim under the Lanham Act must establish: (1) the defendant made a

false or misleading description of fact or representation of fact in a commercial advertisement about his

own or another’s product; (2) the misrepresentation is material, in that it is likely to influence the

purchasing decision; (3) the misrepresentation actually deceives or has the tendency to deceive a

substantial segment of its audience; (4) the defendant placed the false or misleading statement in interstate

commerce; and (5) the plaintiff has been or is likely to be injured as a result of the misrepresentation,

either by direct diversion of sales or by a lessening of goodwill associated with its products. Scotts Co.

v. United Indus. Corp., 315 F.3d 264, 272 (4th Cir. 2002). With respect to the first element, a plaintiff

must show an alleged statement or representation is either “false on its face or, although literally true,

likely to mislead and to confuse consumers given the merchandising context.” Scotts Co., 315 F.3d at



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272-73.

          To establish a SCUTPA claim, a plaintiff must show “(1) that the defendant[s] engaged in an

unlawful trade practice, (2) that the plaintiff suffered actual, ascertainable damages as a result of the

defendant[s’] use of the unlawful trade practice, and (3) that the unlawful trade practice engaged in by

the defendants had an adverse impact on the public interest.” Scurmont LLC v. Firehouse Restaurant

Grp., Inc., Nos. 4:09-cv-00618-RBH, 4:09-cv-00673-RBH, 2010 WL 11433199, at *4 (D.S.C. May 19,

2010) (alterations in original) (citation omitted). It is common for plaintiffs to allege that the unlawful

trade practice is trademark infringement or false advertising. Following this playbook, Plaintiffs make

no new factual allegations merely asserting “the above-described acts of Defendant constitute unfair

methods of competition . . . by using false or misleading descriptions of fact and false or misleading

representations of fact in its commercial advertising or promotion.” Compl. ¶¶ 73-74. In other words,

the predicate acts constituting an “unlawful trade practice” alleged by Plaintiffs are the same allegations

which support its Lanham Act false advertising claims.

                  1.       Rapid Weight Loss’s Statements Are Not Literally False on their Face

          “In analyzing whether an advertisement . . . is literally false [i.e., the advertisement is false on its

face], a court must determine, first, the unambiguous claims made by the advertisement . . ., and second,

whether those claims are false.” PBM Prods., LLC v. Mead Johnson & Co., 639 F.3d 111, 120 (4th Cir.

2011) (ellipses in original) (quoting Scotts Co., 315 F.3d at 274). “A literally false message may be either

explicit or conveyed by necessary implication when, considering the advertisement in its entirety, the

audience would recognize the claim as readily as if it had been explicitly stated.” Id.

          When “evaluating claims asserting literal falsity by necessary implication, courts have

emphasized the limits of this theory of liability, holding that not ‘all messages implied by an

advertisement will support a finding of literal falsity.’” Design Res., Inc. v. Leather Indus. of Am., 789




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F.3d 495, 502 (4th Cir. 2015) (quoting Clorox Co. P.R. v. Proctor & Gamble Com. Co., 228 F.3d 24, 35

(1st Cir. 2000)). “The greater the degree to which a message relies upon the viewer or consumer to

integrate its components and draw the apparent conclusion, . . . the less likely it is that a finding of literal

falsity will be supported.” Id. (ellipsis in original) (quoting Clorox Co. P.R., 228 F.3d at 35). Further,

“[c]ommercial claims that are implicit, attenuated, or merely suggestive usually cannot fairly be

characterized as literally false.” Id. (quoting Clorox Co. P.R., 228 F.3d at 35). “Where the advertisement

is literally false, a violation may be established without evidence of consumer deception.” Id. at 273

(citing Cashmere & Camel Hair Mfrs. Inst. v. Saks Fifth Ave., 284 F.3d 302, 310-11 (1st Cir. 2002)).

        Here, Plaintiffs take issue with two of Rapid Weight Loss’s statements on its website, in sum

asserting that Rapid Weight Loss falsely advertises the compounded medications it references (1)

as if they are Plaintiffs’ Ozempic; and (2) to be as safe, pure, and FDA approved as Plaintiffs’

Ozempic. Plaintiffs allege these statements are misleading because in both instances, Rapid Weight

Loss is referring to Ozempic and studies conducted regarding Ozempic, rather than the

compounded medications. Id. ¶¶ 46-50.




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Compl. Exs. A & B.

         But Rapid Weight Loss’s website advertisements are not false on their face. As for Plaintiffs’

allegations that Rapid Weight Loss refers to compounded medications “as if they were Ozempic,” Rapid

Weight Loss includes explicit citation to the referenced clinical study in the New England Journal of

Medicine, and does not say or imply that Rapid Weight Loss hosted, conducted, funded, or developed

the referenced clinical study.5 The statements on their face refer to a clinical study or studies conducted

on semaglutide—which it is lawfully permitted to do, and is on its face not plausibly misleading or false.

         As Plaintiffs’ complaints that Rapid Weight Loss’s statements refer to compounded medications

as if they are as safe, pure, and FDA-approved as Ozempic is, Plaintiffs conflate “semaglutide”—which

is an active pharmaceutical ingredient (“API”)6—and Plaintiffs’ FDA-approved drug product containing

semaglutide, Ozempic. In context, Rapid Weight Loss’s statements plainly and repeatedly refer to

semaglutide, an API, and not to Ozempic. As Plaintiffs well know, an API itself does not receive FDA

approval; rather, only a final drug product containing an API can. Indeed, nowhere in the challenged


5
  See John P.H. Wilding, D.M., et al., Once-Weekly Semaglutide in Adults with Overweight or Obesity, 384 N. Engl.
J. Med. 11, 989 (Feb. 2021).
6
  “API” means “any substance that is intended for incorporation into a finished drug product and is intended to furnish
pharmacological activity or other direct effect in the diagnosis, cure, mitigation, treatment, or prevention of disease,
or to affect the structure or any function of the body. [API] ingredient does not include intermediates used in the
synthesis of the substance.” 21 U.S.C. § 207.1 (emphasis added).


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statements do the words “FDA” or “FDA approved” even appear.

                2.      Plaintiffs’ Complaint Alleges No Facts to Support Customer Confusion

        In the absence of literal falsity, it is the plaintiff’s burden in a Lanham Act case to show that the

challenged statements are nevertheless misleading or confusing. If a plaintiff’s “theory of recovery is

premised upon a claim of implied falsehood, a plaintiff must demonstrate, by extrinsic evidence, that the

challenged [advertisements] tend to mislead or confuse consumers.” Scotts, 215 F.3d at 273 (citing

Johnson & Johnson * Merck Consumer Pharm. Co. v. Smithkline Beecham Corp., 960 F.2d 294, 297

(2d Cir. 1992)). At the pleading stage, this requirement means that a plaintiff’s complaint must plausibly

allege that the website statements are implied falsehoods that actually deceived customers. Scotts Co.,

315 F.3d at 276; Am. Bd. of Internal Med. v. Rushford, 114 F.4th 42, 66 (1st Cir. 2024) (requiring

plaintiffs to make some allegations of actual consumer deception or intentional deception to state a legally

sufficient claim for relief at the pleading stage). Plaintiffs normally meet this requirement by including

reference to a consumer reaction survey in the complaint. Scotts Co., 315 F.3d at 276.

        But here, Plaintiffs’ Complaint provides no allegations at all in support of any actual deception

or confusion, and instead merely make only conclusory recitations of the elements of a false advertising

claim. See, e.g., Vincent v. Utah Plastic Surgery Soc’y, 621 F. App’x 546, 550 (10th Cir. 2015)

(“Plaintiffs’ complaint contains no such factual allegation or any other specific factual allegation on the

issue of actual consumer deception [and] [a]ny assertions in their complaint on public confusion are mere

speculation.”). The sole materials referenced in and provided with the Complaint are the challenged

statements themselves, which have already been shown above to be not false on their face. These,

conclusory allegations and recitations of claim elements regarding “confusion” are not sufficient to state

a claim under the Lanham Act, and therefore, Plaintiff’s Lanham Act claim should be dismissed, as well

as its derivative SCUTPA claim.




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        Similarly, Plaintiffs’ allegations that they have both suffered and will continue to suffer injuries,

 including injury to Plaintiffs’ business reputation, are wholly conclusory and lack reference to any

 plausible supporting facts. See Compl. ¶ 66. In Vincent v. Utah Plastic Surgery Soc’y, 621 F. App’x 546

 (10th Cir. 2015), plaintiff made a similar conclusory allegation: “Plaintiffs have been and will continue

 to be damaged as a result of Defendants’ false statements by the resultant market confusion, by

 disruption of Plaintiffs’ relationships with its customers, loss of potential customers, by diversion of

 Plaintiffs’ customers to Defendants, and by damage to Plaintiffs’ goodwill and reputations as competent

 and reliable cosmetic surgeons.” Id. at 550. Finding the plaintiff’s allegation insufficient, the Tenth

 Circuit Court of Appeals upheld the dismissal of a false advertising claim. Id. Here, Plaintiffs provide

 even less detail concerning how they were allegedly injured and basically recite the elements of a

 Lanham Act and SCUTPA claim. Therefore, Plaintiff’s Lanham Act claim and its derivative SCUTPA

 claims should also be dismissed on this additional basis.

II.     PLAINTIFFS’ LANHAM ACT CLAIMS PREMISED ON RAPID WEIGHT LOSS
        IMPLYING “FDA APPROVAL” ALSO FAIL AS A MATTER OF LAW

        Rapid Weight Loss’s website statements do not claim that the compounded medications have

FDA approval. Plaintiffs’ false advertising Lanham Act claim, therefore, relies on the theory that, through

the two website statements excerpted above, Rapid Weight Loss implies that the compounded

medications have FDA approval. This claim fails as a matter of law because false advertising Lanham

Act claims based on allegations of implied governmental approval are insufficient where the allegation

relies on implied governmental approval alone. See Mylan, 7 F.3d at 1139 (holding that merely placing

a drug product on the market does not imply FDA approval and finding that a conclusion to the contrary

would permit Mylan to use the Lanham Act to privately enforce the FDCA); Impact Applications, Inc.

v. Conclusion Mgmt., LLC, No. GJH-19-3108, 2021 WL 978823, at *6 (D. Md. Mar. 16, 2021)

(expanding Mylan and dismissing plaintiff’s false advertising Lanham Act claim based on defendant’s



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allegedly false and misleading statements implying that their products “ha[d] been reviewed or approved

by [ ] FDA when they ha[d] not” and noting that “allowing a Lanham Act claim to proceed where a

plaintiff does not point to any statement or representation in the defendants’ advertising [explicitly]

declaring FDA approval or review . . . would in effect, allow the plaintiff to use the Lanham Act as a

vehicle by which to enforce the [FDCA]”).

        Further, Plaintiffs’ claim that Rapid Weight Loss implies that semaglutide is generic for Ozempic

constitutes a false or misleading statement of FDA approval, see Compl. ¶¶ 49-50, is unsupported by

case law and precluded by the FDCA. Ethex Corp. v. First Horizon Pharm. Corp., 228 F. Supp. 2d 1048

(E.D. Mo. 2002) is instructive here. In Ethex, two pharmaceutical companies, Ethex and First Horizon,

manufactured competing lines of prescription prenatal vitamins—PRENATE (Ethex) and PreCare

Prenatal (First Horizon). Ethex, 228 F. Supp. 2d at 1050. Neither product required FDA approval before

being marketed. Id. at 1052. Ethex brought a Lanham Act claim against First Horizon, alleging that First

Horizon illegally listed its prenatal vitamins as “generic” versions of PRENATE in pharmaceutical drug

databases that pharmacists use to fill prescriptions. Id. at 1051. The thrust of Ethex’s argument was that

First Horizon called its vitamins “generic” to PRENATE when they are not, and that First Horizon

purposefully called them “generics” to induce pharmacists to substitute First Horizon’s products for

Ethex’s. Id. at 1052. Ethex thus claimed First Horizon was taking a “‘free ride’ on [Ethex’s] goodwill

associated with PRENATE.” Id.

        The court concluded that Ethex was using this Lanham Act claim as a vehicle to improperly

bring a private cause of action under the FDCA. Id. Central to its conclusion, the Ethex court reasoned

the following:

        The touchstone of [Ethex]’s argument focuses on the fact that the “generic” implies FDA
        endorsement and certain FDA-defined concepts. See [Ethex]’s Answer and
        Counterclaims ¶ 43 (unless a drug has an approved ANDA, it cannot be properly
        and correctly represented to be generic to another drug), ¶ 57 (the term generic as



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        used in the pharmaceutical industry presupposes FDA approval.), ¶ 63 (marketing
        vitamins as generic infers equivalence and interchangeability). [Ethex] argues that
        pharmacists, upon seeing [First Horizon’s] version marketed as generic, were
        confused into believing that they could lawfully substitute [First Horizon’s] version
        of the drug. But the pharmacists could only be confused if “generic” is taken as
        an implicit representation that the product meets FDA standards of
        bioequivalence and therapeutic equivalence. The decisions in this area have
        refused to allow plaintiffs to state a claim based on implicit representations of
        FDA approval; this Court thinks it inappropriate, then, to sustain a Lanham Act
        claim based on a representation which somehow implied FDA definitions.

Id. at 1055 (emphasis added). Thus, the court dismissed Ethex’s Lanham Act claim and held that an

implied governmental approval is the type of claim “better left to [ ] FDA who has the expertise in

enforcing and interpreting its own complicated regulations.” Id. A district court in this circuit further

clarified that express or implied claims of generic or pharmaceutical equivalence are precluded

where there is some indication that FDA approval is needed to make an equivalency claim. Cf.

Pediamed Pharm., Inc. v. Breckenridge Pharm., Inc., 419 F. Supp. 2d 715, 725 (D. Md. 2006)

(articulating that “express or implied claims of generic or pharmaceutical equivalence [are] not

precluded where [, among other things,] there was no indication that FDA approval is needed to make

a claim of equivalency”) (emphasis added).

        As in Ethex, the crux of these Plaintiffs’ claims relies on the theory that “generic” implies FDA

approval, and the express language of the Complaint attempts to privately enforce the FDCA. Like

Ethex’s claims that “the term generic as used in the pharmaceutical industry presupposes FDA approval,”

and marketing drug products “as generic infers equivalence and interchangeability,” see Ethex, 228 F.

Supp. 2d at 1055, so too, do Plaintiffs here allege that Rapid Weight Loss’s “representations

characterizing Ozempic as a mere ‘brand name’ of ‘semaglutide’ are misleading and falsely indicate that

other ‘semaglutide’ medicines have been reviewed or approved by [ ] FDA[,]” see Compl., ¶ 50.

        Here, Plaintiffs’ Lanham Act claim is explicitly premised on allegations of implied FDA

approval. Vast portions of Plaintiffs’ Complaint reference the compounded medications’ lack of



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FDA approval and lack of studies and research to prove their safety, effectiveness, and quality

compared to Ozempic. See Compl. ¶¶ 5, 8-9, 16-17, 32, 35-50, 52-53, 56, 61-62, 74. But Plaintiffs’

Complaint does not (because it cannot) contain any allegations that Rapid Weight Loss made any

express representation on its website (or otherwise) that the referenced semaglutide was FDA-

approved. Plaintiff’s claim, therefore, entirely relies on Rapid Weight Loss’s website statements

implying that the semaglutide being made available to its patients is FDA-approved. As articulated

in Ethex, a complaint asserting a Lanham Act violation based on an implied claim of FDA approval

cannot stand because it serves as a thinly veiled attempt to privately enforce the FDCA. Thus,

Plaintiffs’ Lanham Act claim is precluded in this instance and should be dismissed.

III.     THE FDA HAS SOLE AUTHORITY TO DETERMINE WHETHER RAPID
         WEIGHT LOSS’S STATEMENTS ARE FALSE

         A.     The FDA Has Not Issued Any Interpretations of the FDCA Supporting The
                Conclusion That Rapid Weight Loss’s Statements Are False

         It is long-standing law that where a court would have to evaluate whether a defendant’s

challenged conduct is illegal by interpreting regulations that are the responsibility of an

administrative agency, and that administrative agency has not issued any such interpretation, a

Lanham Act claim cannot stand.

         For example, in Dial A Car, Inc. v. Transportation, Inc., 884 F. Supp. 584, 586 (D.D.C.

1995), a transportation company sued a number of cab companies under the Lanham Act, alleging

that they made false and misleading statements, namely that the cab companies were “lawfully”

(by local rule) able to offer customers the very same corporate services the private car company

plaintiff provided, using the cab driver defendants’ regular taxicabs. Id. at 591-92. The cab drivers

moved to dismiss, arguing that there had been no misrepresentation because their statements were

opinions about the legality of their services, that the accuracy of their statements were the purview

of the local taxi commission’s interpretation of DC regulations, and the taxi commission had not


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determined whether taxicabs could provide corporate services. Id. at 592. In agreeing with the cab

company defendants and dismissing the Lanham Act count, the court found that “[t]he only way

for the Court to determine whether [defendant’s challenged conduct] is illegal is by interpreting

regulations that are within the Taxicab Commission’s bailiwick.” Id. But that taxi commission had

never addressed the applicability (or non-applicability) of the relevant regulation as to defendants,

and it is “generally inappropriate for a court in a Lanham Act case to determine preemptively how

an administrative agency will interpret and enforce its own regulations and thereby to usurp the

agency’s responsibility for interpreting and enforcing potentially ambiguous regulations.” Id. at

593.

         Dial A Car was later affirmed by the D.C. Circuit. Dial A Car v. Transp., Inc., 82 F.3d 484

(D.C. Cir. 1996). Notably, the D.C. Circuit went even further, finding that even if the taxi

commission subsequently issued a clear statement of interpretation regarding whether the cab

drivers could offer corporate services, it still would not be the federal court’s place to find that the

taxicab drivers’ statements prior to the commission’s interpretation could form the basis of a

Lanham Act claim. Id. at 488-89. The “proper inquiry” was whether, at the time that the taxicab

drivers made their statements, was there an unambiguous, clear interpretation from the taxi

commission that those statements were false. Id. at 489. The holding of Dial A Car is equally

applicable to the issue presented here. The FDA is the administrative agency responsible for

interpreting and enforcing the FDCA and its regulations, including those relating to drug approvals.

There has been no statement from FDA that Rapid Weight Loss’s statements about semaglutide

are false. Absent such a statement, this court would have to engage in an evaluation as to whether,

under the FDCA, Rapid Weight Loss’s multiple references to semaglutide and a single reference

to Ozempic are permissible. Here, there is no ruling from the FDA that a reference to an API, like




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semaglutide, implicates the relevant FDA approved drug (here, Ozempic), this court is not

equipped to engage in that fact-finding itself. Thus, as there is no verifiable false statement of fact

in Rapid Weight Loss’s references to semaglutide and Ozempic, dismissal is required.

        B.       The FDA’s Particular Expertise is Required to Interpret the FDCA, Precluding
                 Plaintiffs’ Lanham Act and SCUTPA Claims

        Plaintiffs’ Lanham Act claim also must fail because to determine whether Plaintiffs’ allegations

are true, FDA’s “particular expertise” is required to interpret the FDCA, which precludes Plaintiffs from

bringing the claim. See Allergan USA Inc. v. Imprimis Pharm., Inc., No. SACV 17-1551-DOC (JDEx),

2018 WL 5919210, at *8 (C.D. Cal. Apr. 30, 2018) (“[C]laims regarding compliance with federal and

state regulations dealing with requirements ‘as to safety and . . . identity and strength, and . . . quality and

purity characteristics’ as well as contamination, quality control, sterility, and testing are likely precluded

by the FDCA. . . . Lanham Act claims that require [ ] FDA’s particular expertise or rulemaking authority

are precluded.”); Allergan USA Inc. v. Imprimis Pharm., Inc., No. SACV 17-1551-DOC (JDEx), 2017

WL 10526121, at *7 (C.D. Cal. Nov. 14, 2017) (“[C]laims that directly implicate [ ] FDA’s rulemaking

authority, are not binary factual determinations, or involve an issue on which [ ] FDA has taken positive

regulatory action are all likely precluded by [ ] FDA.”) (internal quotation marks omitted); Allergan,

2017 WL 10526121, at *7 (“In short, the preclusion question turns on the specific nature of the claim in

question—only claims where the law is unclear and [ ] FDA’s particular expertise or rulemaking

authority is required are precluded by the FDCA.”).

        Allergan stands for the principle that Lanham Act claims are precluded where the court

cannot resolve such claims through binary factual determinations. Allergan, 2017 WL 10526121,

at *7-8. Allergan brought an unfair competition and false advertising Lanham Act claim, alleging that a

manufacturer, Imprimis, made false or misleading statements regarding Imprimis’s compounded

medications. Id. at *1. The court found that to resolve Allergan’s claim, it need only make a binary



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factual determination, id. at *7; it did not need to grapple with interpreting ambiguous agency statements.

Specifically, because the plain language reading of Sections 503A and 503B of the FDCA prohibited

Imprimis’s actions the court was able to resolve Allergan’s claim without needing to address “thorny

questions that may require [ ] FDA’s expertise.” Id. In other words, the determinations facing the

court were factual yes or no questions and did not involve tricky interpretations but references to

clear, unambiguous sources. Did Imprimis mass-manufacture compound medications? Yes. Did

Imprimis use ingredients not listed in the statute or the approved list? Yes. Did Imprimis exceed

permitted quantities? Yes.

        In contrast, here, no binary factual determination can resolve Plaintiffs’ claim. Indeed, Plaintiffs’

Lanham Act claim is inextricably intertwined with FDA’s particular expertise. Plaintiffs allege that Rapid

Weight Loss’s referenced compounded medications (1) have not undergone safety and clinical trials

like Ozempic, see Compl. ¶ 50; (2) are inferior in “safety, effectiveness, and quality” to Ozempic, id. ¶

56; and (3) are not the same “semaglutide” as Ozempic, id. ¶ 38. Plainly, Plaintiffs’ Lanham Act claim

cannot be resolved without FDA’s interpretation of the FDCA. As such, this case involves issues relating

to the referenced compounded medications’ safety, quality, and purity as compared to the FDA-

approved Ozempic. Pursuant to Allergan, this type of technical and specialized determination rests

squarely with the FDA. Put another way, the FDA’s particular expertise is required to resolve

Plaintiffs’ claim regarding the referenced compounded medications’ alleged inferiority in “safety,

effectiveness, and quality” as compared to Ozempic. Because the FDA has sole authority to

interpret and enforce the FDCA, Plaintiffs’ Lanham Act claim is precluded and should be

dismissed.

IV.     PLAINTIFFS’ SCUTPA CLAIM IS IMPLIEDLY PREEMPTED BY THE FDCA

        The United States has sole enforcement authority of the FDCA. See 21 U.S.C. § 337(a). Thus,



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parties may not bring private suit to enforce FDCA violations. Buckman Co. v. Plaintiffs’ Legal Comm.,

531 U.S. 341, 352-53 (2001) (determining that, because FDCA violations are prosecuted only by the

United States, claims where violation of the statute was a “critical element” are impliedly preempted);

see also Nexus Pharm., Inc. v. Cent. Admixture Pharm. Servs., No. SACV 20-01506-CJC (JDEx), 2020

WL 6867069, at *2 (C.D. Cal. Nov. 18, 2020), aff’d, 48 F.4th 1040 (9th Cir. 2022) (“[I]f someone

believes the FDCA is being violated, a private lawsuit is generally not the way to address it. . . . [P]rivate

enforcement of the [FDCA] is barred[.]”). If a claim depends on the existence of the FDCA, then the

claim is impliedly preempted by the FDCA because only the FDA can interpret the FDCA. Exela

Pharma Scis., LLC v. Sandoz, Inc., 486 F. Supp. 3d 1001, 1012 (W.D.N.C. 2020) (“‘The test for

determining whether a state law claim is impliedly preempted is whether or not the claim would exist in

the absence of the FDCA.’”) (quoting Evans v. Rich, No. 5:13-cv-868-BO, 2014 WL 2535221, at *2

(E.D.N.C. June 5, 2014)); Ellis v. Smith & Nephew, Inc., 2016 U.S. Dist. LEXIS 193607, *20 (D.S.C.

Feb. 16, 2016) (finding SCUTPA claim preempted by the FDCA). Thus, for Plaintiffs’ SCUTPA claim

to survive FDCA preemption, the claim must have an independent state law basis—meaning, an

independent basis for why the claim is misleading or deceptive that cannot rest on the existence of the

FDCA. See Exela Pharma Scis., 486 F. Supp. 3d at 1012. Plaintiffs’ claim fails to meet this burden.

         As set forth above, Plaintiffs’ Complaint is riddled with allegations that hinge on the FDA’s

enforcement and interpretation of the FDCA. To resolve whether Plaintiffs’ SCUTPA claim is

misleading or false regarding the referenced compounded medications’ composition, safety, and purity,

FDA’s interpretation of the FDCA is required. Plaintiffs’ SCUTPA claim fails for the same reasons

articulated above—to determine whether Plaintiffs’ allegations are true, the FDA, in its sole authority,

must use its “particular expertise” to interpret the FDCA, which preempts Plaintiffs from bringing the

claim.




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        Further, several federal courts have already found these very same Plaintiffs are trying to use

these types of suits as a mechanism to enforce the FDCA against private parties and have preempted

Plaintiffs’ claims on these grounds. In Novo Nordisk, Inc. v. Brooksville Pharm. Inc., No. 8:23-cv-

1503-WFJ-TGW, 2023 WL 738519 (M.D. Fla. Nov. 8, 2023), these same Plaintiffs sued a

compounding pharmacy, alleging that the pharmacy manufactured and sold to the public drugs

containing semaglutide without FDA approval in violation of the Florida Drug and Cosmetics Act

and Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”). Brooksville, 2023 WL

738519, at *1. The court explained that “where the existence of [the FDCA] is a critical element

of a case, the claim is impliedly preempted.” Id. at *3 (internal quotation marks omitted).

        These same Plaintiffs relied on three Eleventh Circuit cases to show that state law claims

based on conduct that violates the FDCA are not preempted where the wrongdoing gives rise to

liability under state law even if the FDCA did not exist. Id. at *2 (citing Jacob v. Mentor Worldwide,

LLC, 40 F.4th 1329, 1336 (11th Cir. 2022); Godelia v. Doe 1, 881 F.3d 1309, 1320 (11th Cir. 2018);

Mink v. Smith & Nephew, Inc., 860 F.3d 1319, 1330 (11th Cir. 2017)). However, the court was not

persuaded by Plaintiffs’ argument and held that “Plaintiffs’ claim, as written, is that Plaintiffs suffer

economic loss due to Defendant’s violation of the Florida Drug and Cosmetic Act, which is itself

a law that says in substance [to] comply with the FDCA. . . . The Court can identify no alleged

conduct that would give rise to liability under state law even if the [FDCA] did not exist.”

Brooksville, 2023 WL 738519, at *3. Thus, the court found that Plaintiffs’ claim was preempted by

the FDCA and granted Brooksville’s motion to dismiss. Id. at *4.

        Similarly, in Novo Nordisk, Inc. v. WellHealth Inc., 3:23-cv-00782-ACC-LLL, 2025 WL

699769 (M.D. Fla. Jan. 30, 2025), these same Plaintiffs alleged that WellHealth jeopardized the

public health by selling drugs without adequate FDA or Florida premarket regulatory approval.




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WellHealth, 2025 WL 699769 at *1. WellHealth moved to dismiss and claimed that Plaintiffs’ claim

was preempted by the FDCA. Id. WellHealth argued that the FDA has sole authority to enforce or

restrain the violations of the FDCA, and Plaintiffs argued that preemption is inapplicable where an

alleged wrongdoing “gives rise to liability under state law even if the FDCA did not exist.” Id. at

*3-4. The court, citing Supreme Court precedent, explained that a plaintiff cannot seek to privately

enforce a duty that is owed to FDA and reiterated that to avoid preemption, “claims must be based

not on the FDCA, but on common law or traditional state tort law [that] predated the federal law

in question.” Id. (citing POM Wonderful LLC v. Coca-Cola Co., 573 U.S. 102, 109 (2014);

Buckman Co., 531 U.S. at 352-53)) (internal quotation marks omitted).

       As in Brooksville, the WellHealth Plaintiffs relied on Jacob, Godelia, and Mink, but the

court was not persuaded and held that “the existence of the FDCA is a critical element of [the

claims] and is impliedly preempted.” Id. at *2-5; see also Novo Nordisk Inc. v. Live Well Drugstore,

LLC, No. 3:23-cv-808-ACC-PDB, ECF No. 85, pp. 12–14 (M.D. Fla. Jan. 30, 2025) (citing

Brooksville and holding plaintiffs’ claims are preempted because the claims are an attempt to

unlawfully bring a private action to enforce FDCA compliance, which solely rests within FDA’s

authority); Novo Nordisk Inc. v. Wells Pharmacy Network, LLC, No. 5:23-cv-00689-ACC-PRL,

ECF No. 48, pp. 16-17 (M.D. Fla. Feb. 12, 2025) (noting that while Wells Pharmacy did not seek

dismissal on preemption grounds, “similar [FDUTPA] lawsuits have been dismissed on

preemption grounds, and preemption would likely apply here”).

       As with Plaintiffs’ above-referenced cases in Florida, Plaintiffs’ SCUTPA claim is

preempted on the same grounds, and therefore the SCUTPA claim should be dismissed.

                                         CONCLUSION

       It is for the foregoing reasons that this Court should grant this Motion to Dismiss and




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dismiss Plaintiffs’ Complaint with prejudice.

                              Respectfully submitted this 24th day of March, 2025,


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